
Nott, J,
This is a motion for a new trial, on the ground of misdirection in the judge, in stating to the jury, that the lapse of time between the loss of the articles stolen and the finding of them, (being about two months,) was not sufficient to rebut the presumption of guilt, arising from their being found in defendant’s possession. A legal presumption qf guilt always arises from the possession of stolen goods. That presumption was strengthened, in this case, by concealment, and other circumstances proper for the consideration of the jury; and, although it'is the province of the jury to judge of the facts, and of the judge to determine the law, yet the judge is not precluded from giving his opinion on the facts. It is his duty to aid the jury in forming an opinion of the evidence as well as the law, which are frequently so blended, that it is difficult to take a distinct and unconnected view of each separately. The whole case was finally and fairly left to the jury, and they have found the defendant guilty. I think they'were well authorised to find such a verdict; a new trial must, therefore, be refused.
Justices Smith, ?ed, Brevard and Grimke, concur*
